     Case 3:25-cv-01780-WHA           Document 161    Filed 03/28/25   Page 1 of 18




 1   Scott A. Kronland (SBN 171693)
     Stacey M. Leyton (SBN 203827)
 2   Eileen B. Goldsmith (SBN 218029)
     Danielle E. Leonard (SBN 218201)
 3
     Robin S. Tholin (SBN 344845)
 4   James Baltzer (SBN 332232)
     ALTSHULER BERZON LLP
 5   177 Post Street, Suite 300
     San Francisco, CA 94108
 6   Tel. (415) 421-7151
 7   Fax (415) 362-8064
     skronland@altber.com
 8   sleyton@altber.com
     egoldsmith@altber.com
 9   dleonard@altber.com
     rtholin@altber.com
10   jbaltzer@altber.com
11
     Attorneys for Plaintiff Organizations
12
     [Additional Counsel on signature page]
13

14                                UNITED STATES DISTRICT COURT

15                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17
      AMERICAN FEDERATION OF                          Case No. 25-cv-01780-WHA
18
      GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                   PLAINTIFFS’ RESPONSE TO MARCH 24,
19
      COUNTY AND MUNICIPAL EMPLOYEES,                2025 ORDER TO SHOW CAUSE RE:
20    AFL-CIO; et al.,                               RELIEF FOR PUBLIC-SECTOR UNION
                                                     PLAINTIFFS
21            Plaintiffs,
22       v.
23
      UNITED STATES OFFICE OF PERSONNEL
24    MANAGEMENT, et al.,

25            Defendants.
26
27

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     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, #3:25-cv-01780-WHA
     Case 3:25-cv-01780-WHA                          Document 161                 Filed 03/28/25               Page 2 of 18




 1                                                        TABLES OF CONTENTS

 2   TABLES OF CONTENTS .................................................................................................................. I

 3   TABLE OF AUTHORITIES .............................................................................................................. II

 4   INTRODUCTION ...............................................................................................................................1

 5   BACKGROUND .................................................................................................................................1

 6   ARGUMENT ......................................................................................................................................4

 7             I.         Legal Standard .............................................................................................................4

 8             II.        The Public-Sector Union Plaintiffs Have Standing .....................................................4

 9             III.       The Public-Sector Union Plaintiffs are Likely to Succeed on the Merits of
                          Their Claims ................................................................................................................6
10
               IV.        The Public-Sector Union Plaintiffs Will Suffer Irreparable Harm Without a
11                        Preliminary Injunction .................................................................................................7

12             V.         The Balance of Equities Weigh in the Plaintiffs’ Favor, and a Preliminary
                          Injunction is in the Public Interest .............................................................................10
13
               VI.        Scope of Injunctive Relief .........................................................................................11
14

15

16

17

18

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20

21

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24

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     PLAINTIFFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                                                          i
     Case 3:25-cv-01780-WHA                            Document 161                  Filed 03/28/25                Page 3 of 18




 1                                                         TABLE OF AUTHORITIES

 2                                                                                                                                                  Page(s)

 3   Federal Cases
 4   Dep’t of Com. v. New York,
        588 U.S. 752 (2019) .................................................................................................................. 4
 5

 6   Fellowship of Christian Athletes v. San Jose Unified Sch. Dist.,
         82 F.4th 664 (9th Cir. 2023) (en banc) ...................................................................................... 5
 7
     Food & Drug Admin. v. All. for Hippocratic Med.,
 8      602 U.S. 367 (2024) .............................................................................................................. 5, 6
 9   Havens Realty Corp. v. Coleman,
        455 U.S. 363 (1982) .............................................................................................................. 5, 6
10
     Massachusetts v. EPA,
11
       549 U.S. 497 (2007) .................................................................................................................. 4
12
     Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab.,
13      595 U.S. 109 (2022) .................................................................................................................. 7

14   Nat’l Treasury Emps. Union v. U.S. Dep’t of Treasury,
        838 F. Supp. 631 (D.D.C 1993)............................................................................................... 10
15
     Pangea Legal Servs. v. U.S. Dept. of Homeland Security,
16
        512 F.Supp.3d 966 (N.D. Cal. 2021) ....................................................................................... 10
17
     State of Maryland v. United States Department of Agriculture,
18       D. Maryland Case No. 1:25-cv-00748-JKB (2025) ................................................................ 12

19   United States v. Texas,
        599 U.S. 670 (2023) .................................................................................................................. 4
20
     Washington v. Trump,
21     847 F.3d 1151 (9th Cir. 2017) ................................................................................................... 4
22
     Winter v. Nat. Res. Def. Council, Inc.,
23      555 U.S. 7 (2008) ................................................................................................................ 4, 11

24   Wolford v. Lopez,
        116 F.4th 959 (9th Cir. 2024) .................................................................................................. 10
25
     Federal Statutes
26
     5 U.S.C.
27      § 706 .......................................................................................................................................... 7
28      § 1102 ........................................................................................................................................ 2

     PLAINTIFFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                                                                 ii
     Case 3:25-cv-01780-WHA                            Document 161                   Filed 03/28/25               Page 4 of 18




 1        § 1103 .................................................................................................................................... 2, 7
          § 1105 ........................................................................................................................................ 2
 2        § 2301 ........................................................................................................................................ 2
          § 3101 ........................................................................................................................................ 2
 3
          § 3502 ........................................................................................................................................ 2
 4        § 4304 ........................................................................................................................................ 2
          § 4305 ........................................................................................................................................ 2
 5        § 7514 ........................................................................................................................................ 2
 6   Other Authorities
 7   Fed. R. Civ. P. 65 ............................................................................................................................ 4
 8   5 C.F.R
 9      § 315.804 ................................................................................................................................... 2
        § 351.402 ................................................................................................................................... 2
10      § 351.801-803 ............................................................................................................................ 2

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     PLAINTIFFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                                                                  iii
     Case 3:25-cv-01780-WHA            Document 161         Filed 03/28/25      Page 5 of 18




 1                                             INTRODUCTION

 2          Five labor unions that represent public-sector federal, state, and local employees, including

 3   Plaintiffs American Federation of Government Employees, AFL-CIO (“AFGE”), American

 4   Federation of State County and Municipal Employees, AFL-CIO (“AFSCME”), AFGE Local 1216,

 5   and United Nurses Associations of California/Union of Health Care Professionals, AFSCME,

 6   AFLCIO (“UNAC/UHCP”) (collectively, “Public-Sector Union Plaintiffs”), previously moved this

 7   Court for injunctive relief. On March 24, 2025, this Court confirmed that it “has subject-matter

 8   jurisdiction to hear and decide the Public-Sector Union Plaintiffs’ claims,” Dkt. 153 at 11, and

 9   ordered the parties to show cause “why the relief extended to the organizational plaintiffs (or more, or

10   less) should not be extended to the public-sector union plaintiffs,” Dkt. 154. For all of the reasons

11   that the Court entered the March 13 preliminary injunction for the organizational plaintiffs in this

12   case (Dkt. 44, 45, 120, and 132), and because the Public-Sector Union Plaintiffs and their members

13   have suffered, and will continue to suffer, irreparable harm absent a return to the status quo, this

14   Court should grant further injunctive relief to the Public-Sector Union Plaintiffs enjoining the relief

15   Defendants that have caused those harms.

16          Plaintiffs identify and explain below the harm caused to these plaintiffs by certain relief

17   Defendants’ implementation of OPM’s unlawful orders and actions. Plaintiffs respectfully request

18   that the Court enter further preliminary injunctive relief to the Public-Sector Union Plaintiffs

19   requiring relief Defendants Department of Agriculture, Department of Commerce, Department of

20   Defense, Department of Education, Department of Energy, Department of Health and Human

21   Services, Department of Homeland Security, Department of Housing and Urban Development,

22   Department of Interior, Department of Treasury, Department of Transportation, Department of

23   Veterans Affairs, Environmental Protection Agency, General Services Administration, National

24   Science Foundation, and Small Business Administration to offer to reinstate terminated probationary

25   employees in the jobs they held before being unlawfully fired as a result of OPM’s unlawful orders

26   and actions.
27                                              BACKGROUND

28          As this Court has found on the record provided to it with respect to Plaintiffs’ motions for

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                       1
     Case 3:25-cv-01780-WHA            Document 161         Filed 03/28/25      Page 6 of 18




 1   temporary restraining order and preliminary injunction, in February 2025, OPM directed other federal

 2   agencies to fire their probationary employees “under the pretense of ‘performance.’” Dkt. 132 at 2,

 3   5. OPM required agencies to use a a generic template termination letter to agency chief human

 4   capital officers that included a reason for termination: “The Agency finds, based on your

 5   performance, that you have not demonstrated that your further employment at the Agency would be

 6   in the public interest.” Id. at 5 (citing Dkt. 87-1). At no point in time prior to this Court’s injunctions

 7   did Defendants reveal to the Court which agencies had fired which or how many employees. Dkt.

 8   132 at 8 (“Virtually all the foregoing facts were uncovered by counsel for plaintiffs. Defendants have

 9   provided virtually no transparency.”).

10          This Court previously ordered six relief Defendants to identify the previously terminated

11   employees and, in a separate lawsuit pending in the District of Maryland, the government submitted

12   declarations (filed again in this Court), finally revealing the numbers: as directed by OPM, at least 18

13   federal agencies fired more than 24,000 probationary workers. Dkt. 156-4 ¶4 (attaching

14   declarations); see also Dkt. 144-1-6. Some agencies used the OPM template language verbatim;

15   others made “slight tweaks” but “maintained the central pretense” and “stayed true to the OPM

16   template, down to the footnotes.” Dkt. 132 at 7. However, as this Court previously found, the

17   termination letter was false because agencies did not consider performance in terminating

18   probationers. Id. at 6-8. To the contrary, even employees with recent outstanding performance

19   ratings were terminated for “performance.”

20          As Defendants have conceded, OPM lacks statutory authority to direct agencies to terminate

21   probationary employees. See 5 U.S.C. §§ 1102, 1103, Dkt. 45 at 8. Its statutory role is to provide

22   human resources support to other agencies. 5 U.S.C. §§ 1103, 1105, 4304, 4305, 7514. Authorizing

23   statutes delegate exclusive authority over employment decisions to federal agency heads. Dkt. 45 at

24   7-8; Dkt. 132 at 9; 5 U.S.C. § 3101. Agency downsizing may occur only through a reduction-in-

25   force, which provides order of termination and bumping rights, and requires notice to employees,

26   affected states, and local governments. See, e.g., 5 U.S.C. § 3502; 5 C.F.R. §§ 351.402, 351.801-803.
27   Probationary employees may be terminated only based on conduct or performance after evaluation,

28   and with detailed notice. See 5 U.S.C. §2301(b)(6); 5 C.F.R. § 315.804(a). As this Court put it, “[n]o

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                      2
     Case 3:25-cv-01780-WHA             Document 161        Filed 03/28/25     Page 7 of 18




 1   statute – anywhere, ever – has granted OPM the authority to direct the termination of employees in

 2   other agencies.” Dkt. 132 at 9.

 3             Less than a week after the mass termination of probationary employees began, Plaintiffs,

 4   including the Public-Sector Union Plaintiffs, challenged OPM’s acts as ultra vires and in violation of

 5   the APA, and moved for a TRO four days later. Dkt. 1, 18. This Court initially held that it likely did

 6   not have jurisdiction over the claims of the Public-Sector Union Plaintiffs because they were

 7   channeled in the first instance to administrative agencies, but granted a TRO as to the other

 8   organizational plaintiffs in the case, finding that plaintiffs’ “mountain of evidence” demonstrated that

 9   they were likely to prove that OPM directed the terminations and widespread irreparable injury to the

10   organizational plaintiffs. Dkt. 44, 45. The Court subsequently granted Plaintiffs leave to amend their

11   complaint to add additional Rule 19 relief defendants and new Plaintiffs, to add those Plaintiffs to the

12   pending motion for preliminary injunction, and to file new evidence of harm in support of that

13   motion. Dkt. 49, 88.1

14             A week after entry of the TRO, OPM amended a memorandum it had issued back on

15   Inauguration Day to state that agencies should make their own decisions, but OPM did not rescind

16   any other prior communications by which OPM directed agencies to act (including but not limited to

17   emails in the record from February 12 and 14, from OPM to all federal agencies, Dkt. 111-2, 111-5)

18   or restore employees to service.

19             On March 13, the Court held a preliminary injunction hearing and orally granted immediate

20   preliminary injunctive relief to the organizational plaintiffs, which was later followed by a written

21   decision. Dkt. 120 at 47-54, 132. Finding that every preliminary injunctive factor supported

22   restoring the status quo prior to OPM’s unlawful acts, the Court ordered OPM and six relief

23   defendants to cease terminations, restore services by reinstating employees to their positions, and

24   report on compliance, including lists of terminated employees and steps taken to comply with respect

25   to each. Dkt. 120 at 52-54, 132. This Court denied Defendants’ motion for a stay pending appeal,

26   Dkt. 133 at 3-4, as did the Ninth Circuit. Dkt. 157. Plaintiffs’ motion for a stay from the U.S.
27

28   1
         Defendants did not oppose the latter two requests. Dkt. 63, 69.
     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                       3
     Case 3:25-cv-01780-WHA              Document 161         Filed 03/28/25      Page 8 of 18




 1   Supreme Court, which they filed without waiting for the Ninth Circuit to rule, remains pending.

 2             On March 24, 2025, following requested additional briefing from both parties with respect to

 3   the Court’s jurisdiction to hear Public-Sector Union Plaintiffs’ claims, this Court held that “the

 4   public-sector unions’ claims are not of the kind Congress intended to be reviewed through the

 5   CSRA” and thus that this Court “has subject-matter jurisdiction to hear and decide the public-sector

 6   union plaintiffs’ claims.” Dkt. 153 at 11. In light of that decision, the Court issued an order to show

 7   cause “why the relief extended to the organizational plaintiffs (or more, or less) should not be

 8   extended to the public-sector union plaintiffs.” Dkt. 154.

 9                                                  ARGUMENT

10       I.       Legal Standard

11             A preliminary injunction is warranted where the moving party establishes that (1) it is likely

12   to succeed on the merits; (2) irreparable harm is likely in the absence of preliminary relief; (3) the

13   balance of equities tips in the movant’s favor; and (4) an injunction is in the public interest. Fed. R.

14   Civ. P. 65(c); Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Fed. R. Civ. P. 65(b)(1).

15   All four factors strongly support preliminary injunctive relief for the Public-Sector Union Plaintiffs.

16       II.      The Public-Sector Union Plaintiffs Have Standing

17             To establish Article III standing, a plaintiff must demonstrate “‘that it has suffered a concrete

18   and particularized injury that is either actual or imminent, that the injury is fairly traceable to the

19   defendant, and that it is likely that a favorable decision will redress that injury.’” Washington v.

20   Trump, 847 F.3d 1151, 1159 (9th Cir. 2017) (quoting Massachusetts v. EPA, 549 U.S. 497 (2007)).

21   “Monetary costs are of course an injury[,]” United States v. Texas, 599 U.S. 670, 676 (2023, and such

22   losses constitute “sufficiently concrete and imminent injury to satisfy Article III,” Dep’t of Com. v.

23   New York, 588 U.S. 752, 767 (2019). As detailed in Plaintiffs’ motion for a TRO and/or to show

24   cause why a preliminary injunction should not issue, and unchallenged by Defendants in their

25   opposition, see Dkt. 33, Plaintiffs AFGE, AFSCME, and their affiliated local unions have standing

26   both in their own right and in their representative capacity to challenge OPM’s unlawful orders to
27   terminate probationary employees. See Fellowship of Christian Athletes v. San Jose Unified Sch.

28   Dist., 82 F.4th 664, 681-82 (9th Cir. 2023) (en banc).

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                         4
     Case 3:25-cv-01780-WHA            Document 161        Filed 03/28/25      Page 9 of 18




 1          The Public-Sector Union Plaintiffs have standing as representatives of their members, who

 2   have suffered, or imminently may suffer, immediate harm from the terminations and the effects of the

 3   terminations. First, the terminated probationary employees themselves faced moving expenses, new

 4   job searches, and the loss of their healthcare benefits as a result of OPM’s unlawful orders to

 5   agencies to terminate probationary employees. Dkts. 18-6 ¶¶22-23; 18-12 ¶¶18-19; 18-18 ¶7; 18-10

 6   ¶¶13, 16-17; 18-5 ¶¶17-22; 18-17 ¶¶19-22. Second, union members—both terminated probationary

 7   employees and other bargaining unit employees—rely on the services provided by government

 8   agencies, just as the organizational plaintiffs’ members do. See Dkt. 18-12 ¶25 (noting sizable

 9   percentage of AFGE members who are veterans will suffer from impairment of VA services).

10   Finally, the many union members who remain employed at the agencies impacted by these

11   terminations have suffered and will continue to suffer immediate harm from the swift, unexpected,

12   and sweeping terminations of their colleagues without planning or advance notice. Union members

13   who remain in their positions have been forced to cover the work done by terminated probationary

14   employees, often without any time to discuss the transition of projects or other crucial handoff

15   information. E.g., Dkts. 18-17 ¶13; 18-8 ¶35.

16          The Public-Sector Union Plaintiffs also have organizational standing, as OPM’s unlawful

17   actions have “directly affected and interfered with [the unions’] core business activities,” not merely

18   their “abstract social interests.” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 395

19   (2024). These unions have been, and will continue to be, injured by the unlawful terminations in the

20   performance of their core pre-existing activities of providing representational services to employees

21   in federal government bargaining units, which include probationary employees who were terminated

22   and employees who remain and suffer the effects. Dkts. 18-6 ¶¶5, 12-17; Dkt. 18-12 ¶¶3, 7-13; 18-

23   18 ¶¶7-13; 18-5 ¶¶11-16, 23; 18-17 ¶¶15-22. Those representational duties include counseling

24   represented employees on their rights in circumstances of termination, RIFs, or other adverse actions.

25   Dkt. 18-12 ¶5; 18-6 ¶3; 18-18 ¶8; 18-5 ¶11-16, 23; 18-17 ¶¶15-22. These injuries are

26   indistinguishable from those held to support standing in Havens Realty Corp. v. Coleman, 455 U.S.
27   363 (1982), where the defendant provided false information about available housing to the plaintiff

28   organization, which provided counseling services for low-income homeseekers, thereby “perceptibly

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                    5
     Case 3:25-cv-01780-WHA             Document 161        Filed 03/28/25      Page 10 of 18




 1   impair[ing] [Plaintiff’s] ability to provide counseling and referral services” with a “consequent drain

 2   on the organization’s resources.” Id. at 378-79; see also Hippocratic Medicine, 602 U.S. at 395

 3   (equating injury-in-fact in Havens Realty to that suffered by “retailer who sues a manufacturer for

 4   selling defective goods to the retailer”).

 5             Further, by embarking on mass terminations without providing any advance notice, OPM

 6   precluded the Public-Sector Union Plaintiffs from performing their authorized role to represent

 7   employees (including in RIF proceedings or otherwise) and forced the Unions to devote their

 8   resources to counseling represented employees. Dkts. 18-6 ¶¶12-17; 18-12 ¶¶7-13. Moreover,

 9   OPM’s unlawful actions have overwhelmed the Unions with queries and demands from probationary

10   employees for representation, undermining the Unions’ ability to effectively assist those and other

11   represented employees. Dkts. 18-6 ¶¶12-17; 18-12 ¶¶7-13. Finally, the loss of union members in

12   represented bargaining units harms the Unions by diminishing their bargaining power and dues

13   income. Dkts. 18-6 ¶¶20-23; 18-12 ¶¶15-18.

14             Causation and redressability are readily satisfied as well. As explained, the demands placed

15   upon the public-sector unions to assist represented employees with navigating these mass pretextual

16   terminations undermine their ability to perform their core representative functions. If the Court

17   orders the relief defendants to rescind the unlawful termination directive and restore the status quo,

18   that injunction would protect against any such future injury to the union plaintiffs.

19      III.      The Public-Sector Union Plaintiffs are Likely to Succeed on the Merits of Their

20                Claims

21             This Court has already determined that the organizational plaintiffs are likely to succeed on

22   the merits of their claims, which mirror the claims brought by the Public-Sector Union Plaintiffs.

23   This factor thus supports likewise granting preliminary injunctive relief to the Public-Sector Union

24   Plaintiffs as well. In short, based on a “mountain of evidence,” Dkt. 45 at 8; see also Dkt. 132 at 11,

25   the Court found that Plaintiffs were likely to prove that “OPM directed agencies to fire their

26   probationers under the pretense of ‘performance’” and did so to, “at least in part, circumvent statutory
27   and regulatory reduction in force procedures and foreclose appeal to the Merit Systems Protection

28   Board.” Dkt. 132 at 8. OPM’s orders were directed to all federal agencies. See Dkt. 71, Exh. C

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                     6
     Case 3:25-cv-01780-WHA            Document 161        Filed 03/28/25       Page 11 of 18




 1   (Forest Service Briefing Paper stating “All federal agencies…were notified on February 12, 2025, by

 2   the Office of Personnel Management (OPM) to terminate all employees who have not completed

 3   their probationary or trial period.”); 111-2; 111-5. Yet “[n]o statute – anywhere, ever – has granted

 4   OPM the authority to direct the termination of employees in other agencies.” Dkt. 45 at 9. Instead,

 5   as a creature of statute, OPM possesses “‘only the authority that Congress has provided.’” Id.

 6   (quoting Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., 595 U.S. 109, 117 (2022)). Because Congress

 7   vested the director of OPM only with authority to appoint, direct, and supervise employees of OPM, 5

 8   U.S.C. § 1103(a)(1)-(3), the agency “did not have the authority to direct the firing of employees,

 9   probationary or otherwise, in any other federal agency,” as Defendants have conceded. Dkt. 45 at 10

10   (emphasis in original). Accordingly, this Court determined that Plaintiffs were likely to prove that

11   OPM’s directive “constituted an ultra vires act that violated its and all impacted agencies’ statutory

12   authority. Id. at 9. Further, this Court found that the OPM template letter used to effectuate the

13   terminations—which stated “[t]he Agency finds, based on your performance, that you have not

14   demonstrated that your further employment at the Agency would be in the public interest,” Dkt. 87-1

15   at 1—was “an obvious pretext intended to obstruct appeal and avoid statutory and regulatory

16   reduction-in-force procedures.” Dkt. 132 at 11.

17            This Court has also determined that Plaintiffs’ APA claims are likely to succeed on the merits

18   “for much the same reason.” Id. at 12. “OPM’s ultra vires directive is likely to constitute an

19   unlawful final agency action that is ‘arbitrary, capricious, an abuse of discretion, or otherwise not in

20   accordance with law,’ ‘in excess of statutory jurisdiction, authority, or limitations, or short of

21   statutory right,’ and ‘without observance of procedure required by law.’” Id. (quoting 5 U.S.C. §

22   706(2)(A), (C), (D).

23      IV.      The Public-Sector Union Plaintiffs Will Suffer Irreparable Harm Without a

24               Preliminary Injunction

25            The Public-Sector Union Plaintiffs have submitted declarations documenting a variety of

26   irreparable harms caused by the mass termination of probationary federal employees across numerous
27   federal agencies. Dkt. 122. Just as the organizational Plaintiffs face “concrete harms,” flowing “from

28   the way the unlawfully directed terminations disable the federal agency services on which they or

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                      7
     Case 3:25-cv-01780-WHA           Document 161        Filed 03/28/25      Page 12 of 18




 1   their members depend, or otherwise imperil their organizational mission or membership—such as by

 2   requiring the organizations to steal resources from their existing work to solve new problems entirely

 3   of OPM’s making,” Dkt. 132 at 12—the Public-Sector Union Plaintiffs also face concrete harms

 4   flowing from Defendants’ unlawfully directed terminations. As discussed above, these unions have

 5   been forced to divert limited resources from their core mission and pre-existing activities providing

 6   representational services to employees in federal government bargaining units across the federal

 7   government in order to respond to the mass terminations directed by OPM of more than 24,000

 8   probationary employees. See supra 4-6. This unprecedented action by OPM, and the impact on

 9   federal agencies, employees, and their labor representatives over the past weeks since OPM ordered

10   federal agencies to act, cannot be overstated. The scale of the terminations exacerbates this harm,

11   which is irreparable absent this Court’s intervention, as the need to respond to these terminations

12   undermines the Unions’ ability to effectively assist other represented employees on their rights in

13   circumstances of termination, RIFs, or other adverse actions. See, e.g., Dkt. 18-6 ¶5; 18-12 ¶3; 8-18

14   ¶8; 18-5 ¶11-16, 23; 18-17 ¶¶15-22.

15          Absent preliminary injunctive relief restoring probationary employees to their prior positions,

16   OPM’s mass termination program has also caused and will cause further irreparable harm to

17   remaining federal workers—including members of the Public-Sector Union Plaintiffs —who must

18   now do more with fewer resources to serve the public and their agencies’ mission. Dkts. 18-14 ¶8;

19   18-18 ¶¶12-13; 18-8 ¶¶36-37. For example, absent reinstatement, the mass firing of probationary

20   firefighters “will have a detrimental effect on the Navy’s ability to perform its mission and protect the

21   military personnel and families that live and work on the many naval facilities across the United

22   States.” Dkt. 18-14 ¶8 (“Personally, I fear that these actions will adversely affect my safety when

23   performing my duties at the Portsmouth Naval Shipyard.”). The mass termination of probationary

24   employees at VA medical facilities will have similar consequences. Dkt. 18-18 ¶13 (“[I]nsufficient

25   staffing leads to burnout, which in turn worsens staffing shortages…diminishing the quality of care

26   provided.”).
27          The speed of the mass terminations caused substantial burdens on remaining employees

28   across the federal government that is irreparable absent injunctive relief. For example, probationary

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                     8
     Case 3:25-cv-01780-WHA           Document 161         Filed 03/28/25      Page 13 of 18




 1   employees in the AFSCME local bargaining unit at the FAA received emails between midnight and 2

 2   a.m. on February 15 stating that they had been terminated effective February 14, 2025. Dkt. 18-17

 3   ¶9. “Within hours of receiving the email termination notices, affected probationary employees were

 4   locked out of FAA systems, unable to … use their email addresses to contact their supervisors about

 5   their important pending work projects affecting public safety or contact human resources to ask

 6   questions about the termination notices.” Id. ¶13. Notice at other agencies was likewise incredibly

 7   short, creating similar chaos for the remaining workers—many of them plaintiff union members—

 8   attempting to take over vital projects. See, e.g., Dkts. 18-8 ¶35 (probationary employees at NSF were

 9   given “mere hours to provide crucial transition information before being locked out of NSF

10   systems”); 111-9 at 2 (VA “dismissals are effective immediately”); 18-6 ¶6 (AFSCME employees

11   terminated effective immediately).

12          The organizational plaintiffs have already documented, and the Court credited, widespread

13   ongoing and imminent harm to services that affect members of these unions as well. For example,

14   tens of thousands of AFGE members are veterans, who—like the members of plaintiffs VoteVets and

15   Common Defense—are impacted by the impacts of the unlawful terminations on VA services,

16   including reductions to the Veterans Crisis Line, “mental health research, cancer treatment, addiction

17   recovery, prosthetics, and burn pit exposure studies,” transportation services, and administrative

18   services that facilitate veterans’ access to treatment. Dkts. 18-7; 18-3; 18-18; 18-12; 70-17.

19   Terminations of FAA workers have not only “introduced unnecessary risk and stress that distracts

20   from the mission of safe flight for civil and military operations” for flight attendants, but likewise

21   affect AFSCME members still working at the FAA. Dkts. 70-13; 18-17.

22          In addition to the impacts felt by terminated members, the federal employee members who

23   remain to pick up the pieces, Plaintiff AFSCME also represents over 1.4 million members, the vast

24   majority of whom are state and local government employees who have been impacted by the loss of

25   federal services. Dkt. 18-6. Those harms are comparable to those identified at length by fellow

26   Plaintiff State of Washington in its recently motion, Dkt. 156, and the amicus brief filed in support of
27   Plaintiffs by cities and counties across the country. Dkt. 105.

28          Finally, in addition to all of these impacts, the loss of union members in represented

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                        9
     Case 3:25-cv-01780-WHA           Document 161         Filed 03/28/25      Page 14 of 18




 1   bargaining units also caused and, absent injunctive relief, will continue to cause immediate harm to

 2   these unions by diminishing their bargaining power and dues income. Dkt. 18-6 ¶¶20-23; 18-12

 3   ¶¶15-18. As damages are not available in APA cases, monetary harm is irreparable. See Pangea

 4   Legal Servs. v. U.S. Dept. of Homeland Security, 512 F.Supp.3d 966, 976 (N.D. Cal. 2021)

 5   (“Economic injuries are deemed irreparable in APA cases because plaintiffs are unable to recover

 6   money damages.”).

 7           The record is replete with evidence of irreparable harm that will flow to the Public-Sector

 8   Union Plaintiffs absent preliminary injunctive relief returning to the status quo prior to OPM’s

 9   unlawful acts, both in their unique organizational and representative capacity as well as in similar

10   ways to the other organizational plaintiffs and to the State of Washington. This factor, too, thus

11   strongly favors an injunction. Dkt. 45 at 22-23; Dkt. 132 at 13 (finding irreparable harm justifying

12   immediate relief).

13      V.      The Balance of Equities Weigh in the Plaintiffs’ Favor, and a Preliminary Injunction

14              is in the Public Interest

15           The equities and public interest, which merge when the government is a party, tip sharply in

16   favor of the Plaintiffs. Wolford v. Lopez, 116 F.4th 959, 976 (9th Cir. 2024). The harms that the

17   Public-Sector Union Plaintiffs have shown are serious, ongoing, and irreparable, while the

18   Defendants have provided no credible evidence of harm. As this Court found in denying a stay of the

19   organizational Plaintiffs’ preliminary injunction, Defendants nowhere claimed to be “uniquely

20   incapable of rehiring recently terminated probationers,” Dkt.133 at 4; their assertions that they were

21   injured by doing so amount to mere administrative burdens, id.; and Defendants’ own declarations

22   demonstrate that agencies are fully able to take steps to comply with the TRO issued by the Maryland

23   District Court and the preliminary injunction issued by this Court. Dkts. 139, 141, 144. As this

24   Court held, “‘[t]he preservation of the rights in the Constitution and the legality of the process by

25   which government agencies function certainly weighs heavily in the public interest.’” Dkt. 132 at 13-

26   14 (quoting Nat’l Treasury Emps. Union v. U.S. Dep’t of Treasury, 838 F. Supp. 631, 640 (D.D.C
27

28

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                       10
     Case 3:25-cv-01780-WHA            Document 161         Filed 03/28/25      Page 15 of 18




 1   1993)).

 2      VI.       Scope of Injunctive Relief

 3             Because each Winter factor favors granting an injunction, this Court should grant preliminary

 4   injunctive relief to the Public-Sector Union Plaintiffs. That relief, like the relief granted to the

 5   organizational plaintiffs, requires full and complete rescission of the unlawful directives and their

 6   effects, ensuring that the unions and their members remain in the positions they held but for the

 7   unlawful directives. And the injunctive relief should extend to all the relief defendants whose actions

 8   have caused and threaten further irreparable harm to the Public-Sector Union Plaintiffs and their

 9   members.

10             For Plaintiff AFSCME and its local unions, that includes relief against Defendants the

11   Department of Agriculture, Department of Transportation, and Department of Veterans Affairs. Dkt.

12   18-6 ¶4.

13             For Plaintiff AFGE and its local unions, that includes relief against Defendants Department of

14   Agriculture, Department of Commerce, Department of Defense, Department of Education,

15   Department of Energy, Department of Health and Human Services, Department of Homeland

16   Security, Department of Housing and Urban Development, Department of Interior, Department of

17   Treasury, Department of Transportation, Department of Veterans Affairs, Environmental Protection

18   Agency, General Services Administration, National Science Foundation, aSmallandand Small

19   Business Administration..

20             Although some of these relief Defendants were covered by this Court’s prior preliminary

21   injunction, or have taken steps to rescind terminations to comply with the separate TRO issued by the

22   District Court of Maryland, as Plaintiffs have previously established, Defendants are not fully

23   complying with this Court’s prior injunction. Dkt. 155. Moreover, the Public-Sector Union Plaintiffs

24   against these Defendants are not moot and the unions are entitled to injunctive relief. As an initial

25   matter, Defendants are currently challenging this Court’s prior preliminary injunction, in part based

26   on the standing of the organizational plaintiffs. In addition, taking steps to comply with a preliminary
27   court order does not moot a case or the need for injunctive relief to prohibit conduct that would

28   otherwise cause irreparable harm. If it did, every case would become moot upon a defendant’s

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                       11
     Case 3:25-cv-01780-WHA           Document 161        Filed 03/28/25     Page 16 of 18




 1   compliance with a TRO or preliminary injunction. And this court has held that OPM’s action in

 2   response to the TRO—“a two-sentence revision to one memo among several held likely to constitute

 3   an unlawful directive—‘could be easily abandoned or altered in the future’” and does not moot the

 4   case. Dkt. 88 at 5. The Public-Sector Union Plaintiffs are thus entitled to their own injunction.

 5          Finally, the Public-Sector Union Plaintiffs request that this Court broaden the scope of the

 6   preliminary injunctive relief somewhat from that described in the Court’s order from the bench on

 7   March 13, covering those probationary employees terminated “on or about February 13 and 14,

 8   2025.” Dkt. 120 at 52. As this Court is aware, Defendants did not provide any transparency into

 9   which employees were terminated and when until after that injunction issued. The evidence now in

10   the record before the Court, including the evidence offered by Defendants, demonstrates that the

11   terminations ordered by OPM took place over a longer timeframe than just on February 13 and 14.

12   Defendants’ own declarations from the Maryland case reveal terminations on February 11, 12, 13, 14,

13   and in subsequent weeks. See Dkt. 156-4. And, in communications to agencies on February 14,

14   2025, OPM stated: “We have asked that you separate probationary employees that you have not

15   identified as mission-critical no later than the end of the day Monday, 2/17.” Dkt. 111-2. That

16   Monday was a federal holiday, as OPM’s own website confirms, and so many terminations continued

17   beyond that deadline. OPM, Federal Holidays, 2025, https://www.opm.gov/policy-data-

18   oversight/pay-leave/federal-holidays/#url=2025; see, e.g., Dkt. 18-9 ¶13 & Ex. B.

19          The eighteen Defendant agencies in the Maryland case reported a total of 24,805 Affected

20   Probationary Employees through March 17, 2025, defined as:

21          [A]ll federal probationary employees who were previously employed by any of the Restrained
            Defendant agencies, or any department or other subdivision therein, and who were
22          purportedly terminated on or after January 20, 2025. The definition excludes any such
            employees who (1) were actually terminated on the basis of a good faith, individualized
23
            determination of cause, under the standards for making such a determination set forth in the
24          foregoing Memorandum, and who (2) were not otherwise terminated as part of a mass
            termination.
25
     State of Maryland v. United States Department of Agriculture, D. Maryland Case No. 1:25-cv-00748-
26
     JKB, Dkt. 44; see also Glymph Decl. ¶¶2-4. In order to provide effective relief covering those
27
     employees whose terminations were also ordered by OPM but were not terminated on exactly
28

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                     12
     Case 3:25-cv-01780-WHA          Document 161        Filed 03/28/25     Page 17 of 18




 1   February 13 or 14, 2025, Public-Sector Union Plaintiffs request the court issue a preliminary

 2   injunction covering any terminated employees from January 20, 2025 forward, as set forth in the

 3   accompanying proposed order.

 4

 5   DATED: March 28, 2025                        Scott A. Kronland
                                                  Stacey M. Leyton
 6                                                Eileen B. Goldsmith
                                                  Danielle E. Leonard
 7
                                                  Robin S. Tholin
 8                                                James Baltzer
                                                  ALTSHULER BERZON LLP
 9                                                177 Post St., Suite 300
                                                  San Francisco, CA 94108
10                                                Tel: (415) 421-7151
11
                                             By: /s/ Danielle Leonard
12
                                                  Attorneys for Plaintiff Organizations
13
                                                  Norman L. Eisen (pro hac vice)
14                                                Pooja Chadhuri (SBN 314847)
15                                                STATE DEMOCRACY DEFENDERS
                                                  FUND
16                                                600 Pennsylvania Avenue SE #15180
                                                  Washington, DC 20003
17                                                Tel: (202) 594-9958
                                                  Norman@statedemocracydefenders.org
18                                                Pooja@statedemocracydefenders.org
19

20                                           By: /s/ Norman L. Eisen

21                                                Attorneys for Plaintiff Organizations
22
                                                  Rushab Sanghvi (SBN 302809)
23                                                AMERICAN FEDERATION OF GOVERNMENT
                                                  EMPLOYEES
24                                                80 F Street, NW
                                                  Washington, DC 20001
25                                                Tel: (202) 639-6426
                                                  Sanghr@afge.org
26
27                                           By: /s/ Rushab Sanghvi

28

     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA                 13
     Case 3:25-cv-01780-WHA       Document 161      Filed 03/28/25     Page 18 of 18




 1                                           Attorneys for Plaintiff American Federation of
                                             Government Employees (AFGE)
 2
                                             Teague Paterson (SBN 226659)
 3
                                             Matthew Blumin (pro hac vice)
 4                                           AMERICAN FEDERATION OF STATE, COUNTY,
                                             AND MUNICIPAL EMPLOYEES
 5                                           1625 L Street, N.W.
                                             Washington, D.C. 20036
 6                                           Tel: (202) 775-5900
 7                                           TPaterson@afscme.org
                                             MBlumin@afscme.org
 8
                                         By: /s/Teague Paterson
 9
                                             Attorneys for Plaintiff American Federation of State
10                                           County and Municipal Employees (AFSCME)
11
                                             Tera M. Heintz (SBN 241414)
12                                           Cristina Sepe (SBN 308023)
                                             Cynthia Alexander, WA Bar No. 46019 (pro hac vice)
13                                           Deputy Solicitors General
                                             OFFICE OF THE WASHINGTON STATE
14                                           ATTORNEY GENERAL
15                                           800 Fifth Avenue, Suite 2000
                                             Seattle, WA 98104
16                                           (206) 464-7744
                                             tera.heintz@atg.wa.gov
17                                           cristina.sepe@atg.wa.gov
                                             cynthia.alexander@atg.wa.gov
18

19                                       By: /s/ Tera M. Heintz

20                                           Attorneys for Plaintiff State of Washington

21

22

23

24

25

26
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     PLFS’ RESPONSE RE: RELIEF FOR PUBLIC-SECTOR UNION PLAINTIFFS, NO. 25-cv-01780-WHA              14
